             Case 20-23140-CMG                    Doc 1      Filed 11/30/20 Entered 11/30/20 15:40:51                              Desc Main
                                                            Document      Page 1 of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fillit, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Fillit Corp.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  100 Overlook Center
                                  2nd Floor
                                  Princeton, NJ 08540
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mercer                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Lot: 2, Block: 156, 101 Asbury Road
                                                                                                  Palmyra, Egg Harbor Township, NJ 08234
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       None


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
              Case 20-23140-CMG                      Doc 1        Filed 11/30/20 Entered 11/30/20 15:40:51                                 Desc Main
                                                                 Document      Page 2 of 10
Debtor    Fillit, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             Case 20-23140-CMG                  Doc 1        Filed 11/30/20 Entered 11/30/20 15:40:51                                 Desc Main
                                                            Document      Page 3 of 10
Debtor   Fillit, Inc.                                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 20-23140-CMG                   Doc 1       Filed 11/30/20 Entered 11/30/20 15:40:51                                 Desc Main
                                                            Document      Page 4 of 10
Debtor    Fillit, Inc.                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 30, 2020
                                                  MM / DD / YYYY


                             X   /s/ James Campo                                                          James Campo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Kenneth A. Rosen                                                      Date November 30, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kenneth A. Rosen 02160-1979
                                 Printed name

                                 Lowenstein Sandler LLP
                                 Firm name

                                 One Lowenstein Drive
                                 Roseland, NJ 07068
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973.597.2500                  Email address      krosen@lowenstein.com

                                 02160-1979 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
           Case 20-23140-CMG                           Doc 1          Filed 11/30/20 Entered 11/30/20 15:40:51                      Desc Main
                                                                     Document      Page 5 of 10




 Fill in this information to identify the case:

 Debtor name         Fillit, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               List of Equity Security Holders and Statement of Corporate Ownership

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 30, 2020                       X /s/ James Campo
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Campo
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
        Case 20-23140-CMG              Doc 1     Filed 11/30/20 Entered 11/30/20 15:40:51                        Desc Main
                                                Document      Page 6 of 10


Fill in this information to identify the case:
Debtor Name: FILLIT, INC.,1
United States Bankruptcy Court for the District of New Jersey                                                   Check if this is an
                                                                                                                   Amended filing
CASE NUMBER (if known):



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Holding 20 Largest Unsecured Claims and
Are Not Insiders                                                                     12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or
Chapter 9 case. Include claims which the debtor disputes.2 Do not include claims by any
person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.

Name of creditor       Name, telephone number and            Nature of        Indicate if     Amount of claim
and complete           email address of creditor contact     claim (for       claim is        If the claim is fully unsecured, fill in only
mailing address,                                             example,         contingent,     unsecured claim amount. If claim is
including zip code                                           trade debts,     unliquidated,   partially secured, fill in total claim amount
                                                             bank loans,      or disputed     and deduction for value of collateral or
                                                             professional                     setoff to calculate unsecured claim.
                                                             services,                        Total           Deduction       Unsecured
                                                             and                              claim, if       for value of    claim
                                                             government                       partially       collateral or
                                                             contracts)                       secured         setoff

Cresse and Carr        Attn: Warren H. Carr, Esq.           Legal services                                                    $300,000
                       Cresse and Carr                      rendered
                       39 Cooper Street
                       Woodbury, NJ 08096
                       Telephone: 856.845.0037
                       E-mail:
                       whccresseandcarr@gmail.com

James O’Brien          James T. O’Brien Realty              Real Estate                                                       $75,000
                       701 E. Gate Drive, Suite 100         Commission
                       Mount Laurel, NJ 08054
                       Telephone: 856.235.3000
                       E-mail:
                       jobrien@jamestobrienrealty.com




1
  The Debtor in this chapter 11 case and the last four digits of its taxpayer identification number is: Fillit, Inc. (3556). Fillit,
Inc is also known as Fillit Corporation.
2
 Inclusion on this list shall not constitute an admission by the Debtors regarding the extent or validity of the debts set forth
herein.
Official form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
           Case 20-23140-CMG                           Doc 1          Filed 11/30/20 Entered 11/30/20 15:40:51                               Desc Main
                                                                     Document      Page 7 of 10
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Fillit, Inc.                                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Estate of Angelo Campo                                                                                                          100% Ownership
 c/o James Campo, Executor
 101 Asbury Road
 Egg Harbor Township, NJ 08234


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 30, 2020                                                      Signature /s/ James Campo
                                                                                            James Campo

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 20-23140-CMG                           Doc 1          Filed 11/30/20 Entered 11/30/20 15:40:51            Desc Main
                                                                     Document      Page 8 of 10



                                                               United States Bankruptcy Court
                                                                        District of New Jersey
 In re      Fillit, Inc.                                                                                  Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fillit, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 November 30, 2020                                                    /s/ Kenneth A. Rosen
 Date                                                                 Kenneth A. Rosen 02160-1979
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Fillit, Inc.
                                                                      Lowenstein Sandler LLP
                                                                      One Lowenstein Drive
                                                                      Roseland, NJ 07068
                                                                      973.597.2500 Fax:973.597.2400
                                                                      krosen@lowenstein.com




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
Case 20-23140-CMG   Doc 1    Filed 11/30/20 Entered 11/30/20 15:40:51   Desc Main
                            Document      Page 9 of 10
Case 20-23140-CMG   Doc 1    Filed 11/30/20 Entered 11/30/20 15:40:51   Desc Main
                            Document     Page 10 of 10
